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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                :      CHAPTER 7
                                                      :
MICHAEL J. BLYDENSTEIN,                               :      Case No. 18-71767-PMB
                                                      :
                                                      :
                        Debtor.                       :


                                   SUGGESTION OF DEATH


         COMES NOW counsel for the Debtor, G. Frank Nason, IV, and shows the Court that he has

been informed that the Debtor herein, Michael J. Blydenstein, died on or about August 30, 2019 in

Atlanta, Georgia.

         Respectfully submitted, this 4th day of October, 2019.

                                                     LAMBERTH, CIFELLI,
                                                      ELLIS & NASON, P.A.
                                                      Attorneys for the Debtor


                                                     By: /s/ G. Frank Nason, IV
                                                             G. Frank Nason, IV
                                                             Georgia Bar No. 535160
 1117 Perimeter Center West
 Ste. N313
 Atlanta, GA 30338
 (404) 262-7373
Case 18-71767-pmb        Doc 48     Filed 10/04/19 Entered 10/04/19 11:57:58               Desc Main
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing

SUGGESTION OF DEATH using the Bankruptcy Court’s Electronic Case Filing program

which sends and electronic notice of this document and an accompanying link to this document

to the following parties who have appeared in this case under the Bankruptcy Court’s Electronic

Case Filing program:

       Samantha Leigh Gunnison                                 Herbert C. Broadfoot
       sgunnison@diment.law                                    bert@hcbroadfootlaw.com
       kdavenport@diment.law
                                                               Bryce R. Noel
       S. Gregory Hays                                         cfganb@aldridgepite.com
       ghays@haysconsulting.net                                bnoel@ecf.inforuptcy.com
       saskue@haysconsulting.net
       GA32@ecfcbis.com                                        R. Jeneane Treace
                                                               jeneane.treace@usdoj.gov
       Office of the United States Trustee
       ustpregion21.at.ecf@usdoj.gov

   This is to further certify that I have this day caused to be served a true and correct copy of the

foregoing SUGGESTION OF DEATH by United States first class mail, postage fully prepaid, to:

   David F. Cooper                                         S. Nathaniel De Veaux
   Kitchens Kelley Gaynes, P.C.                            Kitchens Kelley Gaynes, P.C.
   Glenridge Highlands One                                 Suite 800, Glenridge Highlands One
   Suite 800                                               5555 Glenridge Connector
   5555 Glenridge Connector                                Atlanta, GA 30342
   Atlanta, GA 30342

       This 4th day of October, 2019.

                                                     /s/ G. Frank Nason, IV
                                                         G. Frank Nason, IV




                                                                                                 519522
